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                            EXHIBIT J
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                       IN THE UNITED STATES DISTRICT COURT
                           DISTRICT OF SOUTH CAROLINA
                               GREENVILLE DIVISION

Winston Tyler Hencely,                            §
                                                  §
              Plaintiff,                          §
v.                                                §
                                                  §
Fluor Corporation, Inc., Fluor Enterprises, Inc., §            Civil Action No. - - - - - -
Fluor Intercontinental, Inc., Fluor Government §
Group International, Inc.                         §
                                                  §
               Defendants.                        §

  DECLARATION IN SUPPORT OF DEFENDANTS FLUOR CORPORATION, INC.,
  FLUOR ENTERPRISES, INC., FLUOR INTERCONTINENTAL, INC., AND FLUOR
   GOVERNMENT GROUP INTERNATIONAL, INC.'S RULE 12(b)(l) MOTION TO
          DISMISS UNDER THE POLITICAL QUESTION DOCTRINE


Fluor Declaration in Support of l 2(b)(1) Motion to Dismiss

        I, Bryan K. Wilson, pursuant to 28 U.S.C. § 1746, hereby declare:

My name is: Bryan K. Wilson. I am Security Director for Fluor Government Group Contingency

Operations. I am over age of eighteen years, have never been convicted of a felony or crime of

moral turpitude and am otherwise competent to make this Declaration. I am authorized to make

this Declaration, I have personal knowledge of the facts stated below, and those facts are true and

correct.


           1.   I have held my current position since September, 2013. In my current role, I am

responsible for managing Fluor security operations within multiple countries and projects in

 accordance with local conditions and contract requirements. Depending on the country and

 Fluor project, my responsibilities include staffing and professionally developing project Security

 Managers in all aspects of departmental operations including: employee protection, asset

 protection, and formal inquiries. I review Contingency Operational Area proposal requests and

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contractual data in order to ascertain Fluor Security related requirements, risk, threat areas and

employee, company and customer exposure; formulate and recommend Fluor Security execution

strategies and assists in the development of subcontracted Statements of Work.

        2.      Prior to assuming my current role I served as the Fluor Afghanistan Country

Security Manager from July, 2010 through September, 2013. As the Country Security Manager, I

was responsible for implementing and overseeing all applicable Fluor security operations

(Personnel, Loss Prevention, and subcontracted Force Protection Screening Cells & Entry

 Control Point operations of augmentees).            In concert with Greenville Corporate Security

 Management and Afghanistan LOGCAP Country Manager; I planned, resourced and directed

 security operations, ensuring proper application and enforcement of governing corporate, project,

 theater and client policy, rules and regulations.

         3.     From November, 2004 through July, 2010, I was employed by KBR in various

 Security related subject matter expert and management positions in Afghanistan. Prior to my

 KBR work, I was a Law Enforcement Officer for the State of Louisiana.

         4.      I landed on Bagram on November 14, 2016, two days after the bombing incident

 and reviewed the facts and circumstances on the ground in real time. I reviewed the Fluor and

 Government records associated with the incident and the perpetrator identified by the United

 States Government (Nayeb) immediately after the incident and during the Government bombing

 investigation. I did not leave Bagram until January 20, 2017.

                                               LOGCAP

         5.      Fluor provides base operations support to U.S. military facilities around the

 world. In 2007, the U.S. Army awarded Fluor Task Order 0005 under contract W52PlJ-07-D-

 0008 ("Task Order") pursuant to the Logistics Civil Augmentation Program ("LOGCAP") IV



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contract. Under the Task Order, Fluor provides life support services to U.S. and coalition forces

in north and eastern Afghanistan, at Bagram Airfield, Afghanistan ("BAF") and several other

bases (many referred to as Forward Operating Bases ("FOBs")). Fluor provided these base

operation to support the U.S. Military prior to, at the time of, and following the incident in

question.

       6.      Fluor' s services include a spectrum of civil services required by any sizable

population center. Fluor provides such typical base operations support services as facilities

management, hazardous material and hazardous waste management, pest control services,

laundry services, food service operations, morale welfare and recreation, power generation and

distribution, water supply, sewage, sanitation, and waste management, maintenance operations,

and motor pool, among other services. See Ex. 3 (Performance Work Statement).

        7.     Notably, Fluor has never been engaged to provide any security services under

LOGCAP. In fact, Fluor is not authorized to carry firearms pursuant to Army Regulation. Ex. 10

(AR § 700-137), at Section 6-3.d. ("LOGCAP will not be used to provide armed security

services"). No Fluor employee or subcontractor's employee was authorized to carry a firearm,

for self-defense or otherwise. While the regulation mentions only armed security, the Military's

LOGCAP contracting office has unequivocally interpreted this direction as a ban on Fluor

 performing any kind of physical security.             See   Ex.   13   (Re: LOGCAP       Security

 (UNCLASSIFIED)). A Military LOGCAP planner (U.S. military employee) then forwarded this

 direction to Fluor representatives, observing "The LOGCAP leadership [is] sticking with security

 is security whether armed or not." See Ex. 13 (Re: LOGCAP Security (UNCLASSIFIED)).

        8.      The services Fluor agreed to provide under the Task Order are not functionally

 different from the services it provides at other installations around the world. However, the Task



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Order is unusual in that it contracts for these services to be furnished in Afghanistan, an area of

active hostilities, with the mandated utilization of Afghan nationals.

        9.     Pursuant to well-established military doctrine, given the threats posed by

operating in Afghanistan, the Military provided the security necessary to facilitate Fluor' s

performance of its contract obligations for base operations. This longstanding principle is

reflected in the contract and Bagram base policy, in which the Military expressly assumed a

contractual duty to provide security. See Ex. 2 (Basic Contract) ("[T]he Service Theater

Commander will provide force protection to contractor employees commensurate with that given

to Service/Agency (e.g. Army, Navy, Air Force, Marine, DLA) civilians in the operations area

unless otherwise stated in each task order."); see also Ex. 9 (Basic Contract DFAR 252.225-

 7040(c)) (Basic Contract (DFAR 252.225-7040(c)) ("The Combatant Commander will develop a

 security plan for protection of Contractor personnel" in all locations where there is not sufficient

 or legitimate civil authority)); see also Ex. 4 (BAF Access Policy), at Section 4(a) ("The

 Directorate of Emergency Services (DES) under the authority of the USFOR-A BSG

 Commander will execute this [and] will secure and establish a safe operating environment for all

 personnel assigned to or in support of operations at Bagram Airfield."); Ex. 4 (BAF Access

 Policy), at § 4(b)(2) (The DES is "responsible for execution and implementation of [the BAF

 Access Policy]."); see also Ex. 3 (Performance Work Statement), at § 1.04; at p.44 (defining

 "Force Protection").

         10.    As part of its express obligation to provide security to coalition forces and Fluor's

 civilian personnel, the Military conducted the full spectrum of security functions at BAF. Those

 security functions encompassed several discrete categories of activity, including among others:

 background vetting of potential LN hires; ongoing counterintelligence screenings of LNs once



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they are working on the base; physical searches of LNs every day they enter Bagram; random

inspections of base facilities with bomb-sniffing dogs; roving patrols; badge checks; security,

health and welfare inspections; among other things, and prescribing rules for the escorting of

LNs on base and training and certifying LN escorts. See Ex. 4 (BAF Access Policy).

       11.     There is a difference between supervision for LOGCAP job performance and

supervision for security purposes. LOGCAP requires oversight sufficient to ensure that

employees are satisfying PWS work requirements in a manner that adheres to applicable quality

and safety standards. To this end, Fluor' s actual supervisory responsibilities were limited to

those outlined in PWS paragraphs 01.0?1, 03.03.a. 2 , 05.00 3, and 08.09 4 • Fluor has and continues

to fulfill its hazmat and hazwaste management responsibilities under PWS 5 .03.

        12.    In addition, most LN subcontractors do not share a Western understanding of

professional workplace decorum.         At the time of the November 12, 2016 incident, LN

onboarding training included such rudimentary topics as basic personal hygiene and respecting


         [Fluor] is responsible for ensuring all personnel supporting this TO comply with the standards of
conduct, and all terms/conditions set forth in this PWS and the Basic Contract. [Fluor] shall provide the
necessary supervision for personnel required to perform this contract. Ex. 3 (Performance Work
Statement), 01.07.a.
         [Fluor] shall hire [Host Country Nationals ("HCN")] personnel and Subcontractors to the
maximum extent possible in performance of this contract when such recruitment practices meet legal
requirements. [Fluor] is responsible for oversight of such personnel or Subcontractors to ensure
compliance with all terms of the Basic Contract and this PWS. Ex. 3 (Performance Work Statement).
01.07.b.
2
         Contractor Furnished Items and Services. [Fluor] shall provide all necessary personnel,
supervision, management, equipment, materials, communications, transportation, facilities, supplies, and
cost estimates in support of this TO, unless stated in Technical Exhibit C.1-4. . Ex. 3 (Performance
Work Statement), 03.03.a.
3
         Base Life Support (BLS). [Fluor] shall plan for and provide all personnel, equipment,
maintenance, tools, materials, transportation, supervision and other items and services necessary to
accomplish the requirements of the TO. . . . [Fluor] shall make full use of [HCN] materials, products,
 labor, and equipment. Ex. 3 (Performance Work Statement), 05.00.
4
          Host Nation Support. [Fluor] shall use its best efforts to hire [HCN] personnel and
 Subcontractors when such resources meet Contractor's performance and legal requirements. Oversight
 and compliance with all terms of the contract remain the responsibility of the contractor. Ex. 3
 (Performance Work Statement), 08.09.

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personal space; it focused largely on education about and prevention of assault and sexual

harassment. Given this context, if occasional instances of LNs engaging in non-work activities,

such as sleeping or reading the Quran, were considered automatic disqualification for

employment, Fluor would not have been able to deliver the quality and quantity of services

expected while also satisfying the PWS requirement to hire LN s "to the maximum extent

possible." See Ex. 3 (Performance Work Statement), §§ l.07b, 8.09. Enforcing an appropriate

"work-related standard of performance" among LN employees does not compel the termination

of every LN that occasionally engages in non-violent, non-offensive, non-work activities, while

also completing his job duties.


                                         Base Access Policy


        13.     Under Fluor's LOGCAP Contract and Task Order, the United States Military

 ("Military") was responsible for force protection at Bagram Airfield ("BAF"). The Military's

 Force Protection obligation included issuing security badges to Local Nationals ("LNs"), like

 Ahmed Nayeb, who worked at BAF. No LN could access BAF without a Military-issued access

 badge. The United States Forces-Afghanistan ("USFOR-A), Bagram Support Group's ("BSG")

 BAF Access Policy existed to "clearly identify who may enter and remain on BAF, [and] to

 control access and privileges for Local Nationals (LNs)." See Ex. 4 (BAF Access Policy), at §

 1.0; see also §§ 3(i)-(iv).

         14.     The Military enacted the "Bagram Airfield Screening, and Access Policy"

 (December 5, 2015) (Ex. 4 (BAF Access Policy))5, which was applicable at the time of the

 November 12, 2016 incident and governed who received an access badge; and what criteria he or



         The Military enacted new Base Access Policies after the November 12, 2016 incident. See ifif 36-
 39.

                                                    6
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she had to satisfy in order to receive a badge. The Military's Access Policy similarly prescribed

how and where a badge holder would be supervised for security purposes.

       15.     Fluor did not participate in the formulation of the Military's Access Policy. The

Military did not consult with Fluor in developing any portion of the Access Policy. 6 Fluor did not

provide any input into the Access Policy's terms, conditions, or restrictions. The Access Policy

was exclusively a Military policy.

       16.     Through the Access Policy, the Military-not Fluor-decided to whom it would

grant or deny access to BAF. The Military made its decision in this regard through extensive

security screenings of prospective LN access badge holders. The Military's Force Protection

Screening Cell ("Military FPSC")7 performed those screenings. See Ex. 50 (Delegation of

Authority to Michael Biddy) ("Mr. Michael Biddy was appointed as Military Oversight Officer

and of USFOR-A-Garrison Force Protection to include its subordinate supporting elements, to

which was delegated the authority to approve, suspend or disapprove actions related to the Force

Protection Screening Cell and enforcement of the Bagram Airfield Badge and Access Control

policy.").

        17.     As part of that process, among other things, the Military FPSC 8 checked the

potential LN hire' s name and identification, performed iris scan for biometric check against a




6
        See FN 8 for further discussion of "Fluor" versus Fluor's subcontractors and/or Fluor employees
provided to the Military as augmentees to the FPSC.
7
        After the attack, the Military renamed the FPSC the "Access Control Screening Cell." "FPSC" is
used throughout this document for consistency.
8
         Some Fluor personnel are "provide[d]" to the Military to support work under the authority,
direction, and control of the Military at the FPSC. Ex. 3 (Performance Work Statement), at 26, para.
5.22.03. However, those individuals report to U.S. military officers and not to Fluor. It is the Military-
not the Fluor personnel who may be detailed to the FPSC-that makes all decisions whether to grant base
access to any LN. Ex. 3 (Performance Work Statement), at 26, para. 5.22.03(a) ("The Government
will maintain authority for badge issuance/denial"). Fluor had no discretion in or control over any aspect
of the screening process specifically, or base security generally.

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watchlist, recorded the LN' s biometric identification (photographs, fingerprints, and DNA

collection) utilizing the military's Biometrics Automated Toolset ("BATS") to cross-check

individual's information against watch lists for derogatory information. The Military FPSC

interviewed the LN in person to prepare a biographical workup and conduct a security screening.

The BATS dossier-created exclusively by the Military-prescribed what information to be

obtained and recorded. Fluor did not participate in the formulation of the BATS dossier. The

Military did not consult with Fluor to create the BATS dossier either. Within 24 to 36 hours after

submission of a screening package, the Military reviews the screening package and decides

whether to grant or deny base access to the LN.




         This is so because Fluor subcontractor personnel detailed to the Force Protection Screening Cell
did not report to Fluor and could not have shared screening information from the FPSC with Fluor
personnel. See Ex. 31 (Desktop Guide to Personnel Services (Badging & Screening), at section 4.9 ("All
information and data utilized, exposed and/or obtained during the FPSC mission is For Official Use Only
and belongs to the Department of Defense (DoD). Access to, or disclosure of, information/data will not be
given to any . . . individual not directly associated with the Military FPSC mission unless specifically
authorized in writing."). Fluor never received any such authorization concerning Nayeb or received any
information absent such an authorization.
         Under the terms of the Task Order, Fluor "provide[s] personnel to operate Military Force
Protection Screening." See Ex. 3 (Performance Work Statement), § 5.22.03. Pursuant to this
requirement, Fluor provides augmentees who report to the Military oversight authority that manages and
oversees the Screening Cell, and who report to the Military Oversight authority on all substantive matters
related to their work, such as what questions to ask during LN screening.
         Though augmentees "operate and support" the Screening Cell by inputting LN applicant
biographical and biometric data and conducting screening interviews, the Military "maintain[s] authority
for badge issuance or denial." See Ex. 3 (Performance Work Statement), 5.22.03a. See also Ex. 4
(BAF Access Policy), Section 4(b)(l) ("The BSG Commander via the Force Protection Screening Cell
is the designated badge granting authority."); Ex. 45 (Army 15-6 Report, Exhibit 4S), at 1 ("I am the
military oversight at ECP [redacted]. As the [Area Support Group] commander's representative, I am the
final authority for anything that has to do with the badge screening and access.").
         Moreover, as the Military, not Fluor, supervises augmentees in their work at the FPSC; any
alleged failure to make a subsequent administrative note in Nayeb's record would be a reflection on the
 Military's poor supervision, not Fluor's. Neither does the PWS require augmentees to "notify a
 counterintelligence element for advisement," though as a matter of practice augmentees have the option to
 refer applicants to CI for additional screening. Further, as an interviewee from Task Force Biometrics
 told MG James, "There is not an official memorandum ... directing the placement of reintegrated LNs on
 the Afghanistan Biometrically Enabled Watch list." See Ex. 19 (15-6 Report, Exhibit 4Q), at 3.
         Finally, no Fluor employee and/or subcontractor, augementee or direct report, performs, works
 for or works under counterintelligence.

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       18.    It is also the Military's responsibility to determine whether an access badge holder

may continue to access BAF using his or her issued access badge. This continues after the LN s

have been vetted for employment, approved for base access, and hired. The Military continues

to conduct interviews and screenings of all LN workers every six months. The Military also

conducts random counterintelligence screenings, at its discretion. This additional screening

includes meeting with counterintelligence officers and/or undergoing a Preliminary Credibility

Assessment Screening System ("PCASS") screening, which is a field expedient lie detector. See

Ex. 4 (BAF Access Policy), Annex A.

        19.    Fluor did not participate in counterintelligence gathering. In counterintelligence

interviews, the Military interviewer bases his questions on U.S. Military information, which the

Military designed to look for signs that the LN is connected to insurgent networks. All of these

activities are inherently military functions, and contractors such as Fluor are not privy to what is

asked or assessed in the counterintelligence interview, nor does any Fluor employee and/or

 subcontractor, augmentee or otherwise, perform any such counterintelligence work.

        20.    Fluor is not privy to the contents of these interviews or the reasons for conducting

 them. Fluor does not have advance notice of when they will occur either. If the Military advises

 Fluor that an LN subcontractor is required to attend a military screening interview, the LN is

 escorted from his work facility to attend the interview. Sometimes, the Military FPSC interviews

 an LN and the Military immediately terminates his or her access for reasons unknown to Fluor.

 In such a case, the Military escorts the LN off of the base. Fluor does not have any input into

 such a matter and has no right to protest the expulsion or discover its underlying reasons. The

 Military would simply alert APS that the LN had been escorted off the base, and APS would then

 notify Fluor. From Fluor's perspective, the content of the FPSC's security interviews is a black



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box: the Military does not share with Fluor the information it learns from its personnel vetting

and security screenings.

        21.     The Military also completely and exclusively controls what materials enter BAF

 through physical searches of all vehicles and personnel entering BAF, specifically including LNs

 like Ahmed Nayeb. U.S. personnel and other country nationals ("OCNs") enter the base

 principally by airplane or helicopter. No one can land at Bagram without the Military's approval.

 And if they land from a non-military installation point of departure, the Military routinely scans

 and inspects their luggage and takes whatever other security measures it deems necessary. Fluor

 does not participate in, control, or have any input into such matters.

        22.     Likewise, no LN can physically enter BAF without the Military's approval and

 without navigating the Military-designed and administered entry control procedures. The U.S.

 Military, with coalition forces and contractors operating at its direction, secures the BAF

 perimeter and controls all ingress of LNs onto the base. No LNs subcontracted to Fluor through

 APS stay at BAF full-time, so all entering LNs must traverse the Military-run security control

 points every day.

         23.     LNs typically enter BAF through Entry Control Point 1 ("ECP-1 "). It is the

 responsibility of the Military to physically search, pat down, and inspect all LNs upon entering

 the base through ECP-1. See Ex. 4 (BAF Access Policy), at§ 7. Fluor understands that steps in

 the security procedure include both hands-on pat-downs and electronic countermeasures,

  including x-ray machines and counter-bomber scanners. At the time of the incident, some of

  these procedures were run by LN security guards provided by REED subcontractors, working for

  and under the supervision of the U.S. Military.        The effect was LN security guards were

  searching LN base employees upon entry into BAF.



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        24.    At the very end of the multilayered, Military-run security control system, after at

least six prior security checks whereby an LN has shown his identification badge several times,

been patted down, and been scanned electronically, he scans his iris to validate his credentials

and confirm base access at a booth directly before a turnstile that allows him, if clear, entrance to

the base. 9

        25.    The Military routinely performed random security measures, including physical

searches of LN s and areas, utilizing bomb-sniffing dogs, intermediary checkpoints, security

health and welfare checks, and armed Military guards at buildings to enforce force protection

measures. Fluor does not know and does not have any input as to when, where, or how the

Military performs these random physical searches ofLNs or areas.

        26.     The Military prescribes the rules under which LNs are escorted while on base,

generally from ECP-1 to their places of work, and back. The Military, not Fluor, trains and

certifies all escorts. The Military also controls when and where LNs would receive escorts.

         27.    At the time of the November 2016 attack, the Military's escort policy

 differentiated by color among the types of badges issued to contractor and subcontractor

 personnel. The colors were-(1) green, (2) yellow, and (3) red. Access badges are issued by the

 Military and administered by APS HCN & HR Departments for LNs on BAF. Ex. 28 (Alliance

 Project Services, Security Policy, HCN Labor Support), at§ 5 (Oct. 24, 2013).

         28.    The Military issued green badges only to personnel that lived on BAF premises.

 Ex. 4 (BAF Access Policy), at § 11.c. No Fluor-subcontracted LNs lived on BAF premises.

         29.    Prior to and at the time of the incident, the Military issued yellow badges to some

 LN s, which allowed them to traverse the base unescorted and to escort other LNs who had red


 9
         A Fluor employee provided to the Military and working under the Military's authority, direction,
 and control, operates the iris-scanning machine.

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 badges. Yellow badges were issued to "responsible worker[s]" who met several criteria. See Ex.

 4 (BAF Access Policy), Section ll(b)(l). To receive a yellow badge with escort privileges, an

 LN had to be sponsored by a U.S. officer of the rank of Colonel (Army/Air Force/Marine Corps)

 or Captain (Navy) or U.S. Government equivalent. An applicant had to renew his or her badge

 every six months and undergo a new screening and interview by the Military's FPSC, receive an

 annual medical exam, and file new paperwork. LNs were eligible for yellow badges if they had

 worked for a minimum of 12 consecutive months at BAF without derogatory incidents.

        30.     The Military's BAF Access Policy reserved to the Base Support Group

 Commander ("BSG"), or his or her designee, final authorization for an LN to receive a yellow

 badge. Fluor could not authorize any LN to receive a yellow badge or have escort privileges.

         31.    Once the BSG approved issuance of a yellow badge to an LN, the LN yellow

 badge holder was eligible to be considered for escort privileges. If the Military granted a yellow

 badge holder escort privileges, he or she was permitted to escort up to ten fellow LN employees.

 See Ex. 4 (BAF Access Policy), Section l l(b)(l).

         32.    The Military gave all other LNs on BAF red badges. Critically, at the time of the

 November 2016 attack, the Military's escort policy required LNs with red badges like Ahmed

 Nayeb ("Nayeb"), 10 the attacker, to be escorted "in all areas except work facility." See Ex. 4

 (BAF Access Policy), Dec. 5, 2015, Section ll(a)(l) (emphasis added). Nayeb worked at the

 Non-Tactical Vehicle Yard ("NTV yard"), and pursuant to existing policy, there was no

  requirement that he be escorted for security purposes once he was inside the work facility.

         33.     The Military describes and restricts the duty to monitor (or "escort") LNs for

  security purposes through the express terms of its BAF Access Policy: "Escorts must remain in

  close proximity and remain in constant view of the individuals they are escorting. Escorts will
  IO
         Variants of his name include: Qari Nayab, Ahmad Naib Hafzi, Hafezi Nieb, Abdul Zuhoor.

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continuously monitor all escorted personnel and direct them during any Base security

operations." See Ex. 4 (BAF Access Policy), Section 12(c). The Military policy in effect at the

time of the November 2016 attack did not require escorting inside the work facility: "Red badge

[LN] personnel require an escort in all areas except work facility." See Ex. 4 (BAF Access

Policy), Section 1 l(a)(l) (emphasis added). Therefore, the duty to remain in close proximity and

conduct eyes-on monitoring for security purposes stopped at the work facility. 11 The Military,

not Fluor, issued the force protection policy that did not require eyes-on supervision in the

workplace. The Military then restricted security supervision/escort to the terms of the BAF

Access Policy; no LOGCAP provision provided Fluor any discretion or authorization to provide

security supervision or escort over and above that for which the BAF Access Policy and PWS

allowed or provided. Such was the province of the Military.

        34.      The Military exclusively formulated and provided the escorting requirements

 applicable to Fluor as of the date of the attack in the PWS and the BAF Access Policy. See Ex. 3

 (Performance Work Statement), 3.03 12 ; 5.00 13 ; See Ex. 4 (BAF Access Policy), §§ 12(a) 14,




 11
           The Escort Responsibility Agreement is not to the contrary. Section l.b. of that agreement
 requires escorts to "assume responsibility of the escorted person(s) received at the ECP(s) and continue to
 do so while the escorted person(s) are on BAF in accordance with the Base Access Policy." Ex. 47
 (Escort Responsibility Agreement). The responsibilities laid out in the Escort Responsibility Agreement
 are thus co-extensive with those in the BAF Badge, Screening, and Access Policy: they stop at the work
 facility.
 12
           Contractor Furnished Items and Services. a. The Contractor shall provide all necessary personnel,
 supervision, management, equipment, materials, communications, transportation, facilities, supplies, and
 cost estimates required in support of this TO, unless stated in Technical Exhibit C.1-4.
 13
           Base Life Support. The Contractor shall plan for and provide all personnel, equipment,
 maintenance, tools, materials, transportation, supervision and other items and services necessary to
 accomplish the requirements of the TO ....
  14
           Personnel with escort privileged may escort up to ten personnel.
  15
           Escorts are responsible for the conduct and safety of the personnel they are escorting. Escorts
  must remain in close proximity and remain in constant view of the individuals they are escorting. Escorts
  will continuously monitor all escorted personnel and direct them during any Base security operations.

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        35.     Military-approved escorts alone would escort LNs between ECP-1 and their

 respective work facilities. Before being assigned escort duty, each escort had to (1) meet the

 criteria set out in the Military's BAF Access Policy; (2) receive Military training on how to carry

 out escort responsibilities; (3) sign an escort responsibility agreement; and (4) be approved by

 the Military. See Ex. 4 (BAF Access Policy), Section 12; Bagram Airfield Force Protection

 Screening Cell Information Pamphlet; Ex. 47 (Escort Responsibility Agreement).

        36.     It is important to note that the Military changed its security policies and

 procedures significantly after Nayeb's November 2016 attack. Prior to permanent changes being

 implemented, all LNs were barred from BAF. See Ex. 46 (Email, Monica Shoffeitt to Thomas L.

 Artioli, Nov. 14, 2016, 12:35 p.m., Subj. "[Non-DoD] Source] Re: clarification."). LNs were

 gradually reintroduced per the following Military force protection procedures.

         37.    First, the Military altered its security procedures to provide that armed guards-

 either coalition forces or REED OCN security contractors-would be the exclusive means of

 escorting LNs in all areas. See Ex. 24 (Badge, Screening, and Access Standard Operating

 Procedures for BAF), at § 11.a(l )(ii) (Dec. 2, 2016); see also Ex. 25 (Badge Screening, and

 Access Standard Operating Procedures for BAF), at § 11.a(l)(ii) (Dec. 2, 2016). At BAF, the

 "Yellow Badge" designation was abolished - all LNs are Escorted Red Badges. See Ex. 24

 (Badge, Screening, and Access Standard Operating Procedures for BAF), at§ 11.a(l)(i) (Dec. 2,

 2016); see also Ex. 25 (Badge Screening, and Access Standard Operating Procedures for BAF),

 at § 11.a(l)(i) (Dec. 28, 2016). Further, LNs are no longer permitted by the Military to be

  escorts. See Ex. 24 (Badge, Screening, and Access Standard Operating Procedures for BAF),

  Section 15(k) (Dec. 2, 2016); and Ex. 25 (Badge Screening, and Access Standard Operating

  Procedures for BAF), Section 15(k) (Dec. 28, 2016).



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       38.     Second, as discussed, the Military's post-attack BAF Access Policies now require

security escort for LNs in their respective work facilities. The new escort policy directs that LNs

at Bagram be monitored for security purposes in all areas, not just from the entrance of the base

to their worksites. See Ex. 24 (Badge, Screening, and Access Standard Operating Procedures for

BAF), Section l l(a)(l)(ii) (Dec. 2, 2016).

        39.    Third, the Military has increased force protection measures in and around LN

 work areas. Under the revised practice, the Military directed LNs supporting LOGCAP to work

 in only two discrete work facilities at Bagram surrounded by fences and watched constantly by

 armed coalition soldiers. LNs supporting LOGCAP are now limited to the laundry and waste

 areas. See Ex. 48 (Letter, Timothy Compton, Jr. to Steve Anderson, re: Letter of Technical

 Direction, LOTD FLR-17-0005-ABl-0135, Waste Management Services under ESCAP, Nov.

  16, 2016); Ex. 49 (Letter, Timothy Compton, Jr. to Steve Anderson, re: Letter of Technical

 Direction, LOTD FLR-17-0005-ABl-0138, provide fifty-four (54) Local Nationals for laundry

 services under ESCAP, Nov. 17, 2016). The Military provides armed guards to secure these

 areas and prevent LNs from leaving the workplace unescorted. Id.

        40.     The Military, not Fluor, is responsible for conducting physical security

 inspections each day before allowing LNs on base. See Ex. 4 (BAF Access Policy), Section 7(d)

 ("Coalition Security Forces in charge of the Bagram Airfield Ground Defense Area (BAF GDA)

 will be responsible for ensuring that all physical security inspections of personnel and vehicles

 entering and exiting Bagram Airfield are conducted."). As such, the Military was responsible for

 detecting the explosive material that Nayeb brought through the Military's security checkpoints

 over the four months preceding Nayeb's attack. See Ex. 27 (15-6 Report) at 49, if 18.b(2).




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        41.    The Military policy that red badge LNs "require an escort in all areas except [the]

 work facility" and allowed yellow badge LNs to escort red badge LNs were flawed. See Ex. 4

 (BAF Access Policy), Section 11.a(l) (emphasis added). The fact and seriousness of these

 deficiencies are underscored by the military's immediate revisions to the BAF Badge, Screening,

 and Access policy to require eyes-on security escorting in the workspace and discontinuing

 yellow badges entirely. Indeed, less than three weeks after the attack, the Military issued a

 revised policy that "Red badge personnel require [a] U.S. CAC holder or Coalition Forces

 (military) escort in all areas." See Ex. 24 (Badge, Screening, and Access Standard Operating

 Procedures for BAF), Section 11.a(ii) (Dec. 2, 2016) (emphasis added).


                                             Hiring


        42.     Per the terms of Fluor's LOGCAP Contract and Task Order, at the time of the

 November 12, 2016 incident, Fluor was to utilize Afghan nationals to the "maximum extent

 possible" while performing its LOGCAP work.          Ex. 3 (Performance Work Statement), para.

 l .07(b). Practically, this meant that the Military required Fluor to use LNs for LOGCAP work.

 In fact, if Fluor employed persons other than Afghan nationals, the Military usually required

 Fluor to justify its decision. The Military then had ultimate authority to allow or not allow the

 hiring of persons other than Afghan nationals. The Military's ultimate control over Fluor's hiring

 practices directly stemmed from the LOGCAP Contract's requirement that Fluor utilize LN

 personnel and services in its hiring/subcontracting decisions "to the maximum extent possible."

  Id.

         43.    Utilizing Afghan nationals was not an advisory policy; it was a contractual

  requirement. Accordingly, if Fluor failed to comply with the Task Order's directive to utilize




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Afghan nationals to the "maximum extent possible," such a failure would have endangered

Fluor' s ability to maintain its LOGCAP Contract.

       44.      Consistent with the Military's Afghan First directives, Fluor subcontracted with

Alliance Project Services ("APS"), a labor broker, to hire Afghan nationals, often referred to as

Host Country Nationals ("HCNs") or Local Nationals ("LNs"). Fluor did not before the attack

and does not now directly employ any Afghan nationals at BAF.

        45.     Fluor required labor broker services to provide the hiring and managing of LN

temporary labor service personnel under the terms of the LOGCAP Contract and Task Order. Per

the Military's contractual directives to Fluor at the time of the November 12, 2016 incident, LN

 subcontractors supported Administrative, Logistical, Supply Chain, Materials Management,

 Facility Maintenance, Transportation, Construction, and other Operational disciplines for Fluor's

 LOGCAP work in Afghanistan. APS performed its services in accordance with the requirements

 outlined in the Subcontract Statement of Work. See Ex. 21 (Fluor Responses to Questions

 Received on Dec. 10, 2016), Question 1; see also Ex. 5 (LOGCAP Statement of Work).

        46.     APS typically recruits and hires individuals who were initially part of the military

 labor pool who were vetted through local village police departments, tribal elders, and the

 military. See Ex. 22 (Fluor Responses to Questions Received on Dec. 11, 2016); see also Ex. 23

 (Re: APS-Recruitment/Screening/hiring of HCNs). APS has honored requests from military

 units and security agencies to hire personnel who have worked closely with the military in the

 past. Id. APS has a work pool of four thousand individuals that APS previously employed at

 Afghanistan FOBs. Id.

         4 7.    The APS hiring process begins when Fluor issues a request to APS describing a

 requirement for LN personnel. Id. APS accommodates name requests (e.g., an LN who was a



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 good worker but released in a reduction of force, or if the military recommends particular

 LNs). Id. Otherwise, APS reviews its pool and selects personnel who had previously performed

 similar requirements and have the appropriate skills. Id. APS maintains records of adverse

 information   in   its   database   to   ensure   individuals   with   adverse   records   are   not

 contacted. Id. After a potential employee is identified, employment is based on Medical

 Screening and passing Military security vetting. Id. Security vetting is conducted by the

 Military Force Protection Screening Cell. Id.

        48.     During the March 2011 timeframe, the LOGCAP Task Order 5 Areas of

 Operations ("AOR") were aligned via military Task Forces ("TF"). Each AOR included, but was

 not limited to, a mandated mission for outside the wire operations as well as ensuring base

 operations for installations within the AOR. These responsibilities included but were not limited

 to force protection and life support services. In addition to other staff, each TF had a

 Commander, Administrative Contracting Officer ("ACO"), Logistics Support Officer ("LSO"),

 and   numerous     Contracting Officer Representatives          ("COR")   and    Quality Assurance

 Representatives ("QAR") providing contractor oversight. During the 2011 timeframe TF Red

 Bulls had responsibility Bagram and other bases.

         49.    Ahmed Nayeb entered APS's LOGCAP-eligible labor pool when the Military-

 through Task Force Red Bulls-sponsored Nayeb's admittance to the Parwan Vocational

 Training Center at BAF. Ex. 7, (Letter from Commander, TF Red Bulls, to Parwan ROK). In

 exception to standard operating procedures, as Nayeb's Taliban connection would have been an

  immediate disqualifier for base access, the Commander of Task Force Red Bulls submitted his

  March 2011 letter to Parwan sponsoring Nayeb for admittance to the school. Ex. 7, (Letter from

  Commander, TF Red Bulls, to Parwan ROK). At this time, the Military knew that Nayeb was a



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Taliban member who claimed to have renounced the Taliban and the insurgency. The Military

did not provide this information to Fluor or APS before Nayeb's attack. Per the terms of the

LOGCAP Contract and Task Order, Fluor did not-and could not-perform its own security

screenings or counterintelligence to ascertain Nayeb's fitness for LOGCAP work and/or BAF

access.

          50.   The Military alone sponsored Nayeb for the Parwan vocational school despite its

admitted knowledge ofNayeb's Taliban past. The Army's 15-6 Report reveals that the Military

was in possession of the aforementioned March 25, 2011 letter from the Army's Task Force Red

Bulls identifying Nayeb as a "former" Taliban member and yet requesting that he be given

access to Bagram. See also Ex. 35 (15-6 Report Excerpts), at 9 (para. 12.b(2)). Nayeb's Taliban

 background and the related security risks were of concern to the Military, yet the Military failed

 to inform Fluor ofNayeb's Taliban ties.

          51.   Nayeb was enrolled in BATs on March 24, 2011. See Ex. 19 (15-6 Report,

 Exhibit 4Q), at 2. The Military's signed letter expressly acknowledging Nayeb's history with the

 Taliban and vouching that he had "renounced his ties to the insurgency and now desires to rejoin

 mainstream Afghan society," is dated March 25, 2011. See Ex. 32 (15-6 Report, Exhibit 5H:

 Nayeb FBSC). This "reintegration memo" was then uploaded to another Military database called

 B12R on April 2, 2011. See Ex. 19 (15-6 Report, Exhibit 4Q), at 2. On the same day, Nayeb was

 approved for Red Badge access to BAF, with the stated justification as "This person will be

 trained in the Korean Vocational Training Center as a Construction Trainee." See Ex. 32 (15-6

 Report, Exhibit 5H: Nayeb FBSC).          In the reintegration memo, the Military acknowledged

 "security concerns with admitting a former insurgent to the [training center]" and said it was

 "committed to ensuring the continued safety of the staff at the Vocation Training Center [on



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 Bagram]," and would "respond to any security concerns promptly and fully." Ex. 7, (Letter from

 Commander, TF Red Bulls, to Parwan ROK). The Military accepted responsibility for Nayeb

 and ensuring base security based on the Military's actions of injecting Nayeb into the approved

 LN labor poo 1.

        52.        In accordance with the Military's Afghan First policy, the military encouraged

 Fluor to hire all graduates of the vocational training center. Upon graduation, Nayeb would have

 entered APS's pool of Military-approved LNs. This is in accordance with APS supporting Fluor

 in complying with the Military's Afghan First policy. Ex. 5 (LOGCAP Statement of Work), at§

 1.0 ("Contractor will directly contribute to the stability and growth of the Afghan workforce. The

 Contractor shall work in conjunction with the Afghan 1st Program and Local National (LN)

 relations office.").

         53.       Per the terms of Fluor's LOGCAP Contract, Task Order, and the Statement of

 Work between Fluor and APS, the Military alone was responsible for force protection at BAF, to

 include security screenings of LNs and approval/denial of each screened LN for a BAF access

 badge. Neither Fluor nor APS conducted security screenings of potential LNs for LOGCAP work

 or had any ability to grant or deny any LN access to BAF. See Ex. 3 (Performance Work

  Statement), at § 1.04; see Ex. 5 (LOGCAP Statement of Work), at § 4.4.

         54.       According to the Military, a memorandum describing Nayeb's Taliban affiliation

  and requesting his access was placed in Nayeb's file in March 2011 when he was first screened

  by the FPSC before entering the Parwan Vocational Training Center at Bagram. In order to give

  Nayeb BAF access to attend Parwan, the Military granted him an access badge as well. See

  generally Ex. 4 (BAF Access Policy), at §§ 10-11.




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        55.        The FPSC is a Military operation. Under the BAF Access Policy, the Military's

FPSC conducted security screenings of prospective LN hires for LOGCAP work. Ex. 4 (BAF

Access Policy), at § 9. Fluor is not involved in or privy to FPSC's screenings of LNs. Per the

Military's directive, Fluor provides employees who work under the authority, direction, and

control of the Military, but in the course of their work, Fluor augmentees are not to share outside

of the FPSC information they learn through those positions 16 • Thus, whatever the FPSC knew

about Nayeb through his initial screening (or those that followed) was completely unknown to

Fluor, consistent with the clear separation between the Military's security responsibilities and

 Fluor's service-provision responsibilities under the Task Order.

        56.        Accordingly, the 15-6 Report seriously errs when it states, "Fluor performed the

 Biometrics Automated Toolset Services in March 2011, when Fluor subcontractor employee

 [name redacted] put Nayeb into the database along with the Reintegration Memorandum

 identifying Nayeb's previous Taliban affiliation." Ex. 35 (15-6 Report Excerpts), at 15 (para.

 12.d(l)) (emphasis added). "Fluor" did none of those things, and Fluor knew nothing ofNayeb's

 past until after the bombing. Moreover, the fact that the information was not provided to Fluor

 makes sense only if (as is the case) Fluor had no responsibilities of its own to monitor Nayeb for

 security risks.

         57.       Despite the Military's superior knowledge, Fluor had no knowledge or reason to

 know of Nayeb's Taliban ties until after the attack. See Ex. 26 (Letter, Eleanor Spector to

 Lindsay Wingate).

         58.        The Military screened Nayeb repeatedly during his five years of employment.

 After completing the Parwan school, the Military-run FPSC screened and interviewed Nayeb for


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         At the time ofNayeb's initial screening by the Military's FPSC, FPSC augmentees would have
 been Fluor subcontractor employees, not Fluor.

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 his LOGCAP job on December 11, 2011.           See Ex. 20 (Fluor' s answers to 15-6 Questions

 Received Dec. 4, 2016), at 3. Subsequent screenings and interviews were conducted by the

 Military periodically during Nayeb's tenure on the LOGCAP Project, including on November

 28, 2012; October 14, 2013; September 15, 2014; August 4, 2015; in May 2016; and on June 21,

 2016-a few months before the attack. See Ex. 20 (Fluor's answers to 15-6 Questions Received

 Dec. 4, 2016), at 3.

         59.    Military Counterintelligence Support Teams "support and assist the FPSC in order

 to assess for CI and Force Protection threats." See Ex. 4 (BAF Access Policy), Annex A:

 Counterintelligence and PCASS Screening, Section 1.         Following the incident, Fluor now

 understands the Military conducted a counterintelligence screening ofNayeb in March 2016,just

 months before the bombing. See Ex. 35 (Army 15-6 Report Excerpts) at 33 (para. 15.b(2)). The

 15-6 Report concludes that Nayeb's answers in that screening "appear trained and coached." Ex.

 35 (Army 15-6 Report Excerpts) at 33 (para. 15.b(2)). Yet the Military never reported any

 derogatory information about Nayeb to Fluor, and the Military continued to allow him base

 access. Ex. 26 (Letter, Eleanor Spector to Lindsay Wingate); see also Ex. 20 (Fluor's answers to

 15-6 Questions Received Dec. 4, 2016), at 3.

         60.     Nayeb entered BAF on a near-daily basis for almost five years. In accordance

 with Military Policy and the Military's force-protection responsibilities,      Nayeb and his

 belongings, like other LN' s and their possessions, were subjected to screening and physical

 searches every single day to prevent the kind of attack that occurred on November 12, 2016.

 According to the 15-6 Report, the Military repeatedly failed to detect explosive material that

 Nayeb brought into the base through the Military's entry control point screening procedures

  during a four-month period. See Ex. 27 (15-6 Report) at 49, if 18.b(2).



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       61.      Nayeb began working at Bagram on December 11, 2011. He was a low-skilled

laborer in the hazmat area of the NTV yard. He worked both night and day shifts during his

years of employment. From August 2016 until the date of the attack, he worked the night shift in

the NTV yard's "heavy shop," which fixed non-tactical vehicles such as trucks and buses. See

Ex. 35 (Army 15-6 Report Excerpts) at 9 (para. 12.b(4)).

        62.     The hazmat area is a cluster of containers several yards away from the

"clamshell" shop where the vehicles are maintained. Nayeb worked in the area by himself, and

mechanics would stop in regularly to pick up and drop off motor oil, windshield fluid, and

similar vehicle maintenance materials kept in the hazmat area.         He worked with benign

substances and did not have access to explosives at his work facility. Occasionally, ifNayeb was

not busy, he would assist mechanics in the clamshell, as the 15-6 Report acknowledges. See Ex.

 35 (15-6 Report Excerpts) at 11 (para. 12.c(4)(c)).

        63.     Nayeb's behavior did not generate any basis for Fluor to suspect his malicious

 intentions. In his five years of employment, he was disciplined only once in 2014.

        64.     At all times there was a known supervisory chain responsible for overseeing

 Nayeb's job performance in the NTV Yard.          Elver Asani was the night shift Heavy Shop

 Foreman at the time, and he was responsible for the hazmat area employee, Nayeb's work

 performance.    Asani reported to NTV Yard General Foreman Bijeshi Asokan, who in tum

 reported to the Heavy Shop Supervisor, Rexhep "Reggie" Rexhepi. Rexhepi reported to Will

 Joslin, the American expatriate serving as NTV Yard manager.

         65.     APS supervisors enforced a work-related standard of performance, which did not

 require or involve eyes-on, constant supervision. See Ex. 4 (BAF Access Policy), at § 11.

 LOGCAP requires oversight sufficient to ensure that employees are satisfying PWS work



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 requirements in manner that adheres to applicable quality and safety standards. Further, the

 Military, even after this incident, prohibited eyes-on supervision in some areas. Ex. 29 (Re:

 RANDOM SURVEILLANCE ACTIVITY: PARC/DPARC, Observations (Fluor HAZMAT

 MDC and Laundry, Waste Water Treatment)). Prior to and at time of incident, this prohibition

 included two areas within the NTV: the LN break/prayer rooms.

        66.     Fluor has and continues to fulfill its hazmat and hazwaste management

 responsibilities under PWS 5.03. As discussed, there is no evidence that Nayeb failed to perform

 the tasks assigned to him in the hazmat area.

        67.     At the time of the attack, Fluor's subcontractor APS employed 1,750 Afghans at

 Bagram. For a devoutly religious population, disciplinary policies that disfavor religious

 observance could have profoundly negative repercussions, including undercutting the goals of

 the military's Afghan First policy. The Combatant Commander's General Order 1 expressly

 prohibits disrespect of Afghan culture and religion. See Ex. 37 (General Order 1, Jan. 8, 2015),

 Section 5(h)(l ). To suggest that Fluor supervisors were complacent for not punishing or firing

 Nayeb for reading the Quran would be to fault them for abiding by General Order 1, which

 charges the military and civilian contractors alike with an "individual duty to become familiar

 with and respect the laws, regulations, and customs of Afghanistan insofar as they do not

 interfere with the execution of their official duties." See Ex. 37 (General Order 1, Jan. 8, 2015),

 Section 5(h)(l ).

         68.     APS supervisors enforced APS' s disciplinary policy, which called for graduated

  responses commensurate with the seriousness of the offense. The APS Disciplinary and

  Grievance Guidelines listed "[s]leeping during working hours," as an offense meriting a "verbal

  warning," but did not mandate a written warning or outright termination of the subcontractor



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employee. Ex. 38 (APS Disciplinary Guidelines), at 1. This policy was consistent with the

requirements agreed upon by Fluor and APS in the LOGCAP IV HCN Labor Support Statement

of Work, which made APS responsible for "publish[ing] and administer[ing] a performance

policy and discipline program" that "will identify violations which could result in disciplinary

action up to and including termination." See Ex. 5 (LOGCAP Statement of Work), at para. 7

(emphasis added). "Unsatisfactory job performance" and "Sleeping during working time," were

expressly listed among the violations addressed in the disciplinary policy, along with more

serious offenses, such as sexual harassment, incapacitation by alcohol or drugs, and assault.

According to APS' policy, only the more serious offenses called for written warnings or

termination. APS was the hiring, and firing, authority.

        69.     There is an APS Incident Report from May 2014 documenting Nayeb's receipt of

 verbal counseling at the request of Fluor foreman Bijeshi Asokan, after a Fluor supervisor saw

 Nayeb walking unescorted from the hazmat area to the small engine shop. Per the APS

 Disciplinary and Grievances Guidelines, verbal counseling is the appropriate disciplinary

 measure for LNs found walking unescorted. See Ex. 38 (APS Disciplinary Guidelines), at 1.

 Thus, Fluor supervisors' response to this incident was consistent with applicable disciplinary

 policies at the time.

         70.     Nayeb was authorized to leave the hazmat area in order to perform job-related

 tasks elsewhere within the NTV work facility.

         71.     At the time of the November 12, 2016 incident, there was no Military issued list

 ofrestricted or controlled mechanics tools. See Ex. 36 (15-6 Transcript oflnterview with Fluor),

 at 15; Ex. 35 (15-6 Report Excerpts) at 12-13 (para. 12.c(4)(t)).      Moreover, no LOGCAP

 provision or Military security procedure restricted LN access to the tools routinely used to



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perform NTV maintenance activities.          The Military's limited directives with respect to tool

 management are noted in PWS 1.08 17 , 3.03 18 , and 5.00 19 •

         72.    None of the tool management provisions outlined above requires Fluor to restrict

 employee access to tools. To the contrary, Fluor was obligated to "ensure sufficient quantities of

 all materials are available to meet ordinary demands to avoid delays in work execution." See Ex.

 3 (Performance Work Statement), § 5.00. All tools in the Fluor tool room are needed at some

 point by the mechanics.       The hazmat employee's work responsibilities sometimes included

 checking out tools for use while assisting other mechanics. See Ex. 36 (15-6 Transcript of

 Interview with Fluor), at 14.

         73.     The Military has provided Force Protection guidance on restricted items that LNs

 cannot access without Military oversight and approval. The only restricted items include: cell

 phones, two-way radios, computers, cameras, USB/Digital media, maps, and Official Use Only

 and Sensitive But Unclassified documents. See Ex. 4 (BAF Access Policy), Section 15(c)-(h).

 Restricted items do not include: string, nuts and bolts, switches, or multimeters. Each such item

 was required "to meet [Fluor' s] ordinary demands" pursuant to its PWS. See Ex. 4 (BAF Access

 Policy), at § 5.00.




  17
          1.08. Property Control. The Contractor shall submit a property control plan IA W Technical
  Exhibit F. All property shall be inventoried IA W the Contractor's Government approved property control
  plan and Federal Acquisition Regulation (FAR) Part 45.
  18
          3.03. Contractor Furnished Items and Services. A. The Contractor shall provide all necessary
  personnel, supervision, management, equipment, materials, communications, transportation, facilities,
  supplies, and cost estimated required in support of this TO, unless stated in Technical Exhibit C.1-4.
  19
          5.00 Base Life Support. The Contractor shall plan for and provide all personnel, equipment,
  maintenance, tools, materials, transportation, supervision and other items and services necessary to
  accomplish the requirements of the TO. The Contractor shall ensure sufficient quantities of all materials
  are available to meet ordinary demands to avoid delays in work execution ....

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                                             Incident


        74.    On the morning of November 12, 2016, three Fluor escorts were assigned to

transport LNs from Nayeb's worksite, the NTV yard, to ECP-1. All three escorts were trained

and certified by the U.S. military. Two escorts were OCNs: Edin Zilic, who worked the night

shift in the heavy shop along with Nayeb, and Dalibor Apostolovski, who worked the night shift

in the light shop. The third escort was an Afghan national ("LN") named Asadullah,20 who

worked maintenance at the NTV yard.

        75.     That morning, LNs signed out at the NTV yard at the end of their shifts for time-

and-attendance purposes. Because many LNs are illiterate, one LN named Abdul Jabar ("AJ")

was responsible for signing-out on an APS form for all LNs at the end of the night shift. APS

used these forms to ensure that LN s reported to their work facilities promptly after entering the

 base and exited the base promptly after finishing their shifts. The sign-in/sign-out sheet was

 collected by APS every day after the change in shifts and it was used, not by Fluor to ensure

 everyone was on the bus, but by APS to verify the LN s' work hours.

        76.     It is now known that AJ and Nayeb attended the Parwan Vocational Training

 Center at BAF together. On the morning of November 12, AJ signed out all the LNs on the night

 shift, including Nayeb, at 5: 10 a.m.

        77.     That morning, local nationals leaving the NTV yard were driven in a bus and a

 Tata truck to the front gate. Apostolovski and Asadullah were in the bus, and Zilic drove the Tata

 truck. Light shop workers typically rode the bus with Apostolovski and Asadullah, and heavy

 shop workers typically split up between the bus and the Tata truck.




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         Asadullah does not have a second name.

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        78.    At approximately 5 :05 a.m. or 5: 10 a.m., Zilic noticed that all the LNs were

 standing outside the LN break room, ready to depart for ECP-1. Zilic asked which of them were

 going to ride in the Tata, and 4 LNs entered the vehicle. When the Tata was full, Zilic drove to

 ECP-1, arriving a few minutes earlier than usual and before the bus had departed NTV for ECP-

 1. Zilic thought the ride and disembarkation at ECP-1 were uneventful.

        79.    At around 5:00 am, Apostolovski boarded the bus in the yard between the heavy

 and light shops. Apostolovski recalled that when he boarded the bus, there were two LNs already

 on it. This was the first time that Apostolovski could recall that LNs were already on the bus

 when Apostolovski boarded. Typically, the LNs boarded the bus intermittently with many

 stragglers, but the morning of the attack, the rest of the LN s boarded the bus together and all

 were on time. Once the larger group of LNs boarded the bus, Asadullah vouched that all the LNs

 (including Nayeb) were accounted for, and the bus departed for ECP-1, as usual.

         80.    Nayeb was supposed to be on either the Tata or the bus. Further, Nayeb was

 alleged by AJ and Asadullah to be on the bus. The Military alleges Nayeb evaded the escorts, not

 getting on either the bus or the Tata, and walked from the NTV Yard to the site of the bombing.

 Fluor has no evidence Nayeb was not transported via escorts to ECP-1 and then evaded Military

 security personnel. Nayeb may have gotten help in evading the escorts, and/or Military security

 personnel, from possible accomplices among the LN workforce.

         81.    A sworn statement supporting the 15-6 Report by an officer with the Criminal

 Investigation Division ("CID") states that he has "classified exhibits in my investigation

 produced from other military agencies who identified co-conspirators to the suicide bomber."

  He goes on: "At this time, CID does not plan on listing the co-conspirators as subjects in the

  unclassified LER [law-enforcement report] due to the classified means in which they were



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identified as subjects/co-conspirators." See Ex. 33 (Army 15-6 Report, Exhibit 2A). Other

interviewees told the 15-6 investigators they knew of "facilitation" on the base and that LNs

were smuggling in goods to trade for favors like "look[ing] away." See Ex. 42 (15-6 Report,

Exhibit 21), at 3; Ex. 43 (Army 15-6 Report, Exhibit 30), at 7.

        82.       At 5:38 a.m., Nayeb detonated a suicide vest near the Disney Clamshell. The

explosive material in the vest was not available on the base. As the 15-6 Report concedes, the

material must have been smuggled undetected through Military entry screening. See Ex. 27 (15-6

 Report) at 49,   if 18.b(2); see also Ex. 44 (Army 15-6 Report, Exhibit 40) ("Question: Are you
 pretty confident that this is Potassium Chlorate? Answer. We are for several reasons.")

        83.       Fluor does not know all the threat information and intelligence the Military had

 on Nayeb and his plot, though an inference could be drawn that it was substantial-pages 19-28

 of the report are redacted in response to the investigator's questions: "Did U.S. or Coalition

 Forces have any intelligence of value or indicators regarding the planning and execution of this

 incident before it occurred? If so, what information was known and by whom?" See Ex. 35 (15-

 6 Report Excerpts) at 19-28 (para. 13). Even aside from the intelligence redacted in the report,

 the evidence shows the Military had a clear information advantage over Fluor and failed to

 reasonably act on this information. Regardless of whether Nayeb was a known threat or a

 "ghost," the Military was charge with knowing and stopping this incident. Ex. 44 (Army 15-6

 Report, Exhibit 40), Pg 3 of 8.

         84.      One 15-6 interviewee told MG James that he "knew that there was more

 facilitation going on. I believe that [redacted per (b)(l)l.4.a] the night before said there was

 going to be an attack but that it had been called off." See Ex. 42 (15-6 Report, Exhibit 21), at 3.

 Another interviewee told Ml James, "There was a threat on the base because we knew there were



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drugs being smuggled on, alcohol was probably being smuggled on ... and really what that does

 is it establishes a relationship and that relationship then turns into the day I need you to take a

knee and look away, is the day I bring what I need to bring into the base." See Ex. 43 (Army 15-

 6 Report, Exhibit 30), at 7. Still another interviewee mentioned a 2013 intelligence report that in

 "hindsight" could have helped identify Nayeb as a threat.           See Ex. 44 (Army 15-6 Report,

 Exhibit 40), at 1. This testimony and the nine pages of redacted threat information in the report

 indicate the Military had a clear information advantage over Fluor with respect to insider threats

 at Bagram generally, and any threat posed by Nayeb specifically.

         85.      Exhibits in the 15-6 Report, though heavily redacted, indicate there were known

 vulnerabilities in the military's physical security screening processes that went unaddressed. For

 example, military security contractor REED's September 30, 2016 quarterly report observed,

 "There are Local National Supervisors at the specific posts overseeing the searching procedures

 that are done by Local National Guards on Local National workers coming onto Bagram. This

 practice might be a security risk." See Ex. 40 (Army 15-6 Report, Exhibit 2AQ), at 1. One 15-6

 interviewee told MG James he thought "complacency" regarding the threat posed by LNs "came

 from the top-down and the focus for the mission was diminished to the point where the Task

 Force leadership did not feel that our primary role was base security/force protection ...." See

 Ex. 41 (Army 15-6 Report, Exhibit 2H), at 6. This evidence suggests the military was not as

 vigilant in its security screening as it should have been, despite awareness of weaknesses in the

 procedures. 21




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    Fluor also notes that the military conducted occasional K-9 sweeps of the NTV Yard prior to the attack
  and did not identify any explosive material. This represents another missed opportunity to detect and
  thwart the bomb-maker.

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                                             Exhibits


       The following documents attached hereto as Exhibits and/or as Exhibits to Defendants

Fluor Corporation, Inc., Fluor Enterprises, Inc., Fluor Intercontinental, Inc., and Fluor

Government Group International, Inc.'s Rule 12(b)(l) Motion to Dismiss under the Political

Question Doctrine support my statements above. I have personally reviewed the following

exhibits and confirm that each is a true and correct copy of its respective original:


       Exhibit 2:      LOGCAP IV Basic Contract ("Basic Contract"), at§ H-19

       Exhibit 3:      Afghanistan North Task Order 0005 ("Task Order 0005"), Performance
                       Work Statement

        Exhibit 4:     Bagram Airfield Badge, Screening, and Access Policy (Dec. 5,
                       2015)

        Exhibit 5:     LOGCAP Statement of Work

        Exhibit 6:     Memorandum for All Combined Forces Command-Afghanistan
                       (CFC-A) Personnel, Subject: Afghan First Program (Mar. 25,
                       2006)

        Exhibit 7:     Letter from Commander, Task Force Red Bulls, to Parwan ROK
                       regarding reintegration of Qari Naeb Hafezi (Mar. 25, 2011)

        Exhibit 8:      Department of Defense Instruction 2000.16, Enclosure 2 (June 14,
                        2001)

        Exhibit 9:      Basic Contract (DF AR 252.225-7040)

        Exhibit 10:     Army Regulation 700-137

        Exhibit 11:     Contractor Support in the Theater of Operations, Deskbook
                        Supplement (Mar. 28, 2001)

        Exhibit 12:     DoD Instruction 3020 .41, Contractor Personnel Authorized to
                        Accompany U.S. Forces (Oct. 3, 2005)

        Exhibit 13:     Re: LOGCAP Security (UNCLASSIFIED)

        Exhibit 14:     DoD Instruction 2000.16, Enclosure 3, § E3.l.l.14.l

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      Exhibit 15:     Army Field Manual 100-21, Contractors on the Battlefield (Jan.
                      2003)

      Exhibit 16:     Army Regulation 715-9

      Exhibit 17:     U.S. Government Counterinsurgency Guide (Jan. 2009)

       Exhibit 18:    Army Field Manual 3-24, Counterinsurgency (Dec. 15, 2006)

       Exhibit 19:    Army 15-6 Report, Exhibit 4Q

       Exhibit 20:    Fluor Responses to 15-6 Questions Received Dec. 4, 2016

       Exhibit 21:    Fluor Responses to 15-6 Questions Received Dec. 10, 2016

       Exhibit 22:    Fluor Responses to 15-6 Questions Received Dec. 11, 2016

       Exhibit 23:    RE: APS-Recruitment/Screening/hiring of HCNs (Established
                      Policies and Procedures)

       Exhibit 24:    Badge, Screening and Access Standard Operating Procedures for
                      Bagram Airfield (Dec. 2, 2016)

       Exhibit 25:    Badge, Screening and Access Standard Operating Procedures for
                      Bagram Airfield (Dec. 28, 2016)

       Exhibit 26:    Letter, Eleanor Spector to Lindsay Wingate (Dec. 22, 2016)

       Exhibit 27:    Army 15-6 Report at 49, if 18.b.2

       Exhibit 28:    Alliance Project Services, Security Policy, HCN Labor Support
                      (Oct. 24, 2013)

       Exhibit 29:    Re: RANDOM SURVEILLANCE ACTIVITY: PARC/DPARC,
                      Observations (Fluor HAZMAT MDC and Laundry, Waste Water
                      Treatment)

       Exhibit 30:     Moshe Schwartz & Jennifer Church, Cong. Res. Serv., R43074,
                       Department of Defense's Use of Contractors to Support Military
                       Operations: Background, Analysis, and Issues for Congress (2013)

       Exhibit 31 :    Desktop Guide to Personnel Services (Badging & Screening) (May
                       18,2010)

        Exhibit 32:    Army 15-6 Report, Exhibit SH: Nayeb FBSC


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      Exhibit 33:     Army 15-6 Report, Exhibit 2A

      Exhibit 34:     "COIN-The strategic, operational, and tactical implications of the
                      economic variable in counterinsurgency" (Aug. 3, 2011)

      Exhibit 35:     A1llly 15-6 Report Excerpts

      Exhibit 36:     15-6 Transcript oflnterview with Fluor (Dec. 20, 2016)

      Exhibit 37:     General Order Number 1 (Jan. 8, 2015)

      Exhibit 38:     APS Disciplinary Guidelines

      Exhibit 40:     Army 15-6 Report, Exhibit 2AQ

      Exhibit 41: · Army 15-6 Report, Exhibit 2H

      Exhibit 42:     Army 15-6 Report, Exhibit 2J

      Exhibit 43:     Army 15-6 Report, Exhibit 30

      Exhibit 44:     Army 15-6 Report, Exhibit 40

      Exhibit 45:     Army 15-6 Report, Exhibit 4S

       Exhibit 46:    Email, Monica Shoffeitt to Thomas L. Artioli, Nov. 14, 2016,
                      12:35 p.m., Subj. "[Non-DoD] Source] Re: clarification."

       Exhibit 4 7:   Escort Responsibility Agreement

       Exhibit 48:    Letter, Timothy Compton, Jr. to Steve Anderson, re: Letter of
                      Technical Direction, LOTD FLR-17-0005-ABl-0135, Waste
                      Management Services Under ESCAP, Nov. 16, 2016

       Exhibit 49:     Letter, Timothy Compton, Jr. to Steve Anderson, re: Letter of
                       Technical Direction, LOTD FLR-17-0005-ABl-0138, provide
                       fifty-four (54) Local Nationals for laundry services under ESCAP,
                       Nov. 17, 2016

       Exhibit 50:     Delegation of Authority to Michael Biddy (Feb. 4, 2016)




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       I declare under penalty of perjury under the laws of the United States of America that the

foregoing is true and correct.


               Executed on this   I ~-tb=day of March, 2019.




 SUBSCRIBED AND SWORN to before me on this the
 2019.
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 My Commission Expires:     ~~M£
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